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IN THE UNITED STATES DISTRICT COURT BY““ nc'

FOR THE WESTERN DISTRICT OF TENNESSEE

 

  

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KE'\/'IN MILLEN,
Plaintiff,

vs. No. 04*3016-Ml/An

FRIEDM.AN ' S , INC . ,

Defendant.

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ORDER OF DISMISSAL

 

Plaintiff Kevin Millen filed a ppg §§ complaint pursuant
to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e pp
§ggp, and the Americans with Disabilities Act, 29 U.S.C. § 12111 et
§§gp, on December 15, 2004, along with a motion seeking leave to
proceed ip ip;mg pauperis. As the plaintiff’s motion to proceed ip
fp;mg pauperis contained no information concerning his monthly
income, assets, and financial ohligations, the Court issued an
order on May ll, 2005 denying leave to proceed ip fp;m§ pauperis
and directing the plaintiff to pay the $150 civil filing fee within
thirty days. On May 24, 2005, plaintiff filed another nmtion,
entitled “Order Asking for Leave to Use In Forma Pauperis And Order
Directing Defendants to Pay Monetary funds [sic] Owed to
Plaintiff,” which the Court construed as a motion seeking
reconsideration of the decision denying leave to proceed ip fp;mg

pauperis. The Court issued an order on July 20, 2005 denying the

dQCU\"G
T'n\s for ?gka) FHCP on

wm P\u\e 53 and

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motion for reconsideration and advising the plaintiff that, “[i]f
the civil filing fee is not paid by August 5, 2005, this action
will be dismissed, without prejudice, for failure to prosecute.”
07/20/05 Order at 2.

The date specified in the July 20, 2005 order has passed,
and the plaintiff has not paid the civil filing fee. Accordingly,
the Court DISMISSES the complaint without prejudice, pursuant to
Fed. R. Civ. P. 4l(b), for failure to prosecute.

IT IS SO ORDERED this az q day of August, 2005.

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PHIPPS MCCALLA
ITED S'I‘ATES DISTRICT JUDGE

 

   

UNITSED`ATE DISTRICT C URT WESTENRDT"ISRIC oF TENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:04-CV-030]6 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

Kevin Millen
4104 StillWood Dr.
Memphis7 TN 38128

Honorable J on McCalla
US DISTRICT COURT

